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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                             GAINESVILLE DIVISION


UNITED STATES OF AMERICA

v.                                                           CASE NO. 1:05-cr-00017-MP-AK

JEFFERY ROBINSON,

      Defendant.
________________________________/

                                          ORDER

       This matter is before the Court on Doc. 324, Motion to Continue Sentencing, filed by

Defendant Robinson. A telephone hearing was held on this motion on Thursday, January 18,

2007. At the hearing, Defendant Robinson requested a continuance because he is currently

providing assistance to the Government, and because he is potential witness against his co-

defendants, whose trial has been continued. The Government does not object. Since the

continuance will allow Defendant to complete his assistance and allow the Government to

evaluate that assistance, the motion is granted. Accordingly, the sentencing date of Defendant

Robinson, currently set for February 1, 2007, is hereby continued to Thursday, March 22, 2007,

at 10:00 a.m.


       DONE AND ORDERED this            19th day of January, 2007


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
